     Reset Form Case 2:23-cr-00115-JLSUNITED STATES
                                       Document     DISTRICT
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                                                         03/15/23                                                   Page ID #:3
                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE SUMMARY
                                                                                                                    3/15/2023
        Case Number              2:23-cr-00115-JLS                                    Defendant Number 1                       jb

        U.S.A. v. Carrie L. Tolstedt                                                  Year of Birth 1959
            Indictment                      ✔   Information                Investigative agency (FBI, DEA, etc.) FBI, FDIC-OIG, FRB-OIG, etc.

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."
OFFENSE/VENUE                                                                    PREVIOUSLY FILED COMPLAINT/CVB CITATION
a. Offense charged as a:                                                         A complaint/CVB citation was previously filed on:
                                                                                 Case Number:
     Class A Misdemeanor          Minor Offense         Petty Offense
                                                                                 Assigned Judge:
     Class B Misdemeanor          Class C Misdemeanor         ✔   Felony
                                                                                 Charging:
b. Date of Offense February 2015 through May 2015
                                                                                 The complaint/CVB citation:
c. County in which first offense occurred
                                                                                        is still pending
                                                                                          was dismissed on:
d. The crimes charged are alleged to have been committed in
   (CHECK ALL THAT APPLY):                                                       PREVIOUS COUNSEL
                                                                                 Was defendant previously represented?              No   ✔   Yes
          Los Angeles                 Ventura
                                                                                 IF YES, provide Name:     Enu Mainigi
            Orange                          Santa Barbara
                                                                                       Phone Number: 202-434-5420
            Riverside                       San Luis Obispo
                                                                                 COMPLEX CASE
            San Bernardino              ✔   Other San Francisco                  Are there 8 or more defendants in the Indictment/Information?
                                                                                          Yes*        ✔ No
Citation of Offense 18 U.S.C. § 1517
                                                                                 Will more than 12 days be required to present government's
                                                                                 evidence in the case-in-chief?
                                                                                         Yes*          ✔ No
e. Division in which the MAJORITY of events, acts, or omissions
   giving rise to the crime or crimes charged occurred:                          *AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
                                                                                 OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
✔    Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)              TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                                 CHECKED.
     Eastern (Riverside and San Bernardino)           Southern (Orange)
                                                                                 SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                                     IS THIS A NEW DEFENDANT?                Yes        No

Has an indictment or information involving this defendant and                    This is the         superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously                   The superseding case was previously filed on:
filed and dismissed before trial?
        ✔ No          Yes
                                                                                 Case Number
        If "Yes," Case Number:
                                                                                 The superseded case:
Pursuant to General Order 21-01, criminal cases may be related
if a previously filed indictment or information and the present                     is still pending before Judge/Magistrate Judge
case:
    a. arise out of the same conspiracy, common scheme,
       transaction, series of transactions or events; or                              was previously dismissed on

    b. involve one or more defendants in common, and would                       Are there 8 or more defendants in the superseding case?
       entail substantial duplication of labor in pretrial, trial or                      Yes*           No
       sentencing proceedings if heard by different judges.                      Will more than 12 days be required to present government's
                                                                                 evidence in the case-in-chief?
Related case(s), if any (MUST MATCH NOTICE OF RELATED
                                                                                          Yes*            No
CASE):
                                                                                 Was a Notice of Complex Case filed on the Indictment or
                                                                                 Information?
                                                                                          Yes            No
                                                                                 *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                                 MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
                                                                                 FILED IF EITHER "YES" BOX IS CHECKED.
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                                                             03/15/23
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE SUMMARY

INTERPRETER                                                                 CUSTODY STATUS
Is an interpreter required?         YES      ✔   NO                           Defendant is not in custody:
IF YES, list language and/or dialect:                                         a. Date and time of arrest on complaint:
                                                                              b. Posted bond at complaint level on:
                                                                                   in the amount of $
OTHER                                                                                                                No
                                                                              c. PSA supervision?          Yes
     Male            ✔   Female                                               d. Is on bail or release from another district:
 ✔   U.S. Citizen        Alien
Alias Name(s)                                                                 Defendant is in custody:
                                                                              a. Place of incarceration:         State         Federal
This defendant is charged in:                                                 b. Name of Institution:
     ✔ All counts                                                             c. If Federal, U.S. Marshals Service Registration Number:
         Only counts:
                                                                              d.      Solely on this charge. Date and time of arrest:
     This defendant is designated as "High Risk" per
     18 USC § 3146(a)(2) by the U.S. Attorney.                                e. On another conviction:              Yes                 No
     This defendant is designated as "Special Case" per
                                                                                    IF YES :     State               Federal             Writ of Issue
     18 USC § 3166(b)(7).
                                          Yes     ✔   No                      f. Awaiting trial on other charges:          Yes           No
Is defendant a juvenile?
IF YES, should matter be sealed?          Yes         No                            IF YES :     State       Federal       AND
                                                                                   Name of Court:
The area(s) of substantive law that will be involved in this case
                                                                                   Date transferred to federal custody:
include(s):
    financial institution fraud           public corruption                   This person/proceeding is transferred from another district
                                                                              pursuant to F.R.Cr.P.         20             21             40
     government fraud                      tax offenses
     environmental issues                  mail/wire fraud
     narcotics offenses                    immigration offenses
     violent crimes/firearms               corporate fraud
✔    Other      obstruction of bank examination




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




            Date      03/15/2023
                                                                            Signature
                                                                            Sign
                                                                              g atur
                                                                                   u e of Assistant
                                                                                          Asssis
                                                                                              istant U.S. Attorney
                                                                                                          A torney
                                                                                                          At
                                                                            Alexander B. Schwab
                                                                            Print Name
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